                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

  TRISTAN J. HALL,

         Plaintiff,

  v.                                                     Case No.
                                                    JURY EMANDED, THIS IS THE FIRST
  GREGORY S. MCMILLAN, JUDGE,                       APPLICATION FOR
  FOURTH CIRCUIT COURT, KNOX                        EXTRAORDINARY RELIEF.
  COUNTY, TENNESSEE,
  and all other Defendants not yet known,

         Defendant.


                 COMPLAINT FOR DAMAGES AND DECLARATORY RELIEF


            COMES THE PLAINTIFF, TRISTAN J. HALL, by and through counsel, and for a cause

 of action against the Defendant would state as follows:

                                             PARTIES

       1.    Plaintiff, TRISTAN J. HALL (“Plaintiff”), is a citizen and resident of Knox County,

 Tennessee.

       2.    Defendant, GREGORY S. MCMILLAN, is duly licensed to practice law in the State of

 Tennessee (BPR No. 015581) and a full time Judge for the Fourth Circuit Court of Knox County,

 Tennessee, having been elected to serve in that position. Defendant may be served with process

 at the Knox County Fourth Circuit Court, City County Building, 400 Main Street, Knoxville, TN

 37902.

       3.    Defendants not yet known to the Plaintiff consist of Co-Defendants that may have

 conspired with Judge McMillian in the illegal acts set forth herein and expedited discovery will be

 necessary to allow Plaintiff to obtain the names of these individuals.


                                   -1-
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 1 of 30 PageID #: 1
                                        JURISDICTION AND VENUE

     4.     This Court has jurisdiction and venue over Plaintiff’s claims brought pursuant to Title 42

 of the United States Code section 1983-1988. See 28 U.S.C. § 1331, 1343(a)(3).

     5.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to Title

 28 of the United States Code section 1367.

     6.     Venue exists in this Court pursuant to Title 28 of the United States Code section 1391.

                            FACTS GIVING RISE TO CAUSE OF ACTION

     7.     On July 31, 2020, Lauren N. Frontz (“Frontz”) filed a Petition for Order of Protection

 (EXHIBIT A) and on August 3, 2020, the Fourth Circuit Court of Knox County, Tennessee entered

 a Temporary (Ex Parte) Order of Protection against the Complainant. (EXHIBIT A).

     8.     Tennessee law requires “good cause” for the issuance of an ex parte order of protection;

 see Tenn. Code § 36-3-605(a).1 “An immediate and present danger of abuse to the petitioner shall

 constitute good cause for purposes of this section.” Id.

     9.     On September 25, 2020, Complainant, pro se, filed a “Motion to Dissolve the Temporary

 (Ex Parte) Order of Protection for Lack of Good Cause.” (T.R. Vol. I, at 29-33) (EXHIBIT B).

 Said Motion and subsequent related pleadings are instructive to this Complaint because they

 demonstrate how unnecessarily complicated the underlying case became and how questionable

 Defendant’s actions were for no logical reason:

                  Demonstrably, [] Frontz did not fear an immediate and present danger of
          abuse; see, EXHIBIT. Remarkably one (1) day prior to her Petition, [] Frontz was
          specifically advised by the Knoxville Police Department that she could pursue an
          order of protection; but instead, she stated that she “wanted to wait.” Clearly, []
          Frontz did not actually feel terrorized, frightened, intimidated, threatened, harassed,
          or molested; see, TCA § 39-17-315.

 1
   “Upon the filing of a petition under this part, the courts may immediately, for good cause shown, issue an ex parte
 order of protection. An immediate and present danger of abuse to the petitioner shall constitute good cause for purposes
 of this section.” Tenn. Code § 36-3-605(a).



                                   -2-
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 2 of 30 PageID #: 2
                The Petition further demonstrates lack of good cause. Therein, [] Frontz
        alleges that she is a victim of stalking. Notably, “stalking” requires repeated or
        continuing harassment; id. Intriguingly, however, [] Frontz does not allege any
        actual harassment; see, § 39-17- 308 (requiring a “threat of harm” for an offense of
        harassment to occur). She, in fact, does not allege any threats of illegal actions or
        communications that serve no legitimate purpose; see, State v. Wiss, No. M2012-
        01547- CCA-R3-CD, at *5 (Tenn. Crim. App. Mar. 26, 2014) (“Threats of illegal
        actions including, but not limited to, murder, arson, kidnapping, and assault serve
        no legitimate purpose”). She does not even allege any profanity or other conduct
        that would not be constitutionally protected; see, TCA § 39-17- 315 (“Harassment
        does not include constitutionally protected activity or conduct that serves a
        legitimate purpose”).

                Instead, [] Frontz centers her complaint on [Complainant] contacting other
        persons (e.g., “Tristan contacted my ex-boyfriend”). Explicitly, harassment
        requires “conduct directed toward a victim;” id.; however, [] Frontz does not allege
        any occurrence of actual harassment (e.g., threats of harm), much less stalking,
        committed by [Complainant] and directed toward her; and, even to the extent that
        [] Frontz vaguely alleges the conduct of other persons (e.g., “fake numbers;” “other
        people”), not once does she allege that [Complainant] directed those other persons.
        Simply put, [] Frontz is a not a victim of stalking; she is merely angry that
        [Complainant] contacted other persons.

 (T.R. Vol. I, at 30-31) (emphasis original).

    10. On October 9, 2020, Complainant, pro se, filed “Response and Objections” (T.R. Vol. I,

 at 49-73, Exhibit C) wherein he argued that Frontz had obtained the ex parte order of protection

 inappropriately:

                In her Petition to this court, [] Frontz was specifically asked “ON WHAT
        DATE(S) DID THE EVENT(S) OCCUR?” In response, [] Frontz explicitly stated,
        “ON GOING SINCE 07/21/2020.” That statement was patently false. [] Frontz
        omitted that she had, in fact, met with [Complainant] for approximately three (3)
        hours at Parkside Grill on the evening of July 25, 2020 (Verified Complaint at ¶
        13); thus, any alleged harassment and/or stalking could not have been “ON GOING
        SINCE 07/21/2020.

 (T.R. Vol. I, at 49-50).

    11. Additionally, on October 14, 2020, Complainant, pro se, filed a “Notice of Filing” and

 supplemental phone records (T.R., Vol. I, at 77-79) (SEE EXHIBIT C) demonstrating that he and




                                   -3-
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 3 of 30 PageID #: 3
 Frontz had communicated almost daily up until July 29, 2020 -- in stark contrast to Frontz’ claim

 of stalking since “07/21/2020.” Specifically, Complainant also cited Tenn. R. Civ. P. 9.06 (“For

 the purpose of testing the sufficiency of a pleading, averments of time and place are material, and

 shall be considered like all other averments of material matter.”).

     12. All of the aforesaid pleadings were properly noticed and timely filed pursuant to the

 Tennessee Rules of Civil Procedure. Frontz, who was then represented by original counsel, did

 not object or file a response, nor did Frontz file a motion to strike or quash the notice of hearing.

     13. Swonger v. Swonger, No. E2015-01130-COA-R3-CV (Tenn. Ct. App. Apr. 28, 2016) is

 of particular importance to this Complaint. In Swonger, Defendant was personally vacated by the

 Tennessee Court of Appeals for entering an indefinite order of protection; and therefore, with

 certainty, Defendant had judicial notice that indefinite orders of protection violate Tennessee

 statutes and law. Swonger also makes clear that, “at a hearing following entry of an ex parte order

 of protection, a trial court has only two options: (1) to dissolve the ex parte order of protection; or

 (2) to extend the order of protection for a definite period not to exceed one year.” Id. at *8;

 (emphasis added). The same requirement is also statutory; see Tenn. Code § 36-3-605(b). 2

     14.     During the hearing on October 16, 2020, Defendant candidly agreed with Complainant

 and stated, “reaching out to third parties isn’t stalking or harassing.” (T.R. Vol. II, at 225) (See

 Exhibit D). However, Defendant declined either option pursuant to Swonger and blatantly refused

 to hear or consider Complainant’s Motion to Dissolve, stating: “I don’t dissolve ex parte orders; I

 have trials on them.” (T.R., Vol. II, at 226).


 2
   “Within fifteen (15) days of service of such order on the Defendant under this part, a hearing shall be held, at which
 time the court shall either dissolve any ex parte order that has been issued, or shall, if the petitioner has proved
 the allegation of domestic abuse, stalking or sexual assault by a preponderance of the evidence, extend the order of
 protection for a definite period of time, not to exceed one (1) year, unless a further hearing on the continuation of such
 order is requested by the Defendant or the petitioner; in which case, on proper showing of cause, such order may be
 continued for a further definite period of one (1) year, after which time a further hearing must be held for any
 subsequent one-year period.” Tenn. Code § 36-3-605(b) (emphasis added).


                                   -4-
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 4 of 30 PageID #: 4
    15. Indeed, an order of protection which is entered ex parte must be set for hearing on the

 merits within 15 days of its issuance. Defendant failed to do this and by statute the order of

 protection expired by operation of law removing jurisdiction from this Defendant as to any further

 hearings. All further hearings the Defendant conducted thereafter, as fully set forth herein, was

 Ultra Vires – without jurisdiction, and as such Defendant has no immunity from same.

    16. The above-described conduct, actions and/or inactions of Respondent as set forth herein

 in Count I constitute violations of the Tennessee Code of Judicial Conduct, specifically: (1) RJC

 1.1, (2) RJC 1.2, (3) RJC 2.2, (4) RJC 2.5(A), (5) RJC 2.6(A) and (6) RJC 2.7 as set forth

 hereinafter in paragraph Error! Reference source not found..

    17. In addition, the above-described conduct, actions and/or inactions of Respondent as set

 forth herein in Count I constitute violations of the Tennessee Rules of Professional Conduct,

 specifically (1) RPC 3.2, (2) RPC 3.4(c), (3) RPC 8.4(a) and (4) RPC 8.4(d) as set forth hereinafter

 in paragraph Error! Reference source not found..

    18. On September 25, 2020, Complainant, pro se, filed his first motion (T.R. Vol. I, at 17-

 26) to obtain his attorney/client work product that was erroneously given to the court:

               The phone records of [] Frontz were originally subpoenaed in Knox County
        General Sessions Court by [] Former Counsel for defense of [] Frontz’ harassment
        charge against the [Complainant]. Shortly thereafter, the harassment charge was
        dismissed, and Former Counsel surrendered those records along with related
        attorney/client work product to the General Sessions Court. Subsequently, Former
        Counsel re-subpoenaed those records from General Sessions Court so that they may
        be used in this case. Since then, said phone records and attorney/client work product
        have been in the possession of this court. To date, [Complainant] has not
        reviewed said records or attorney/client work product.

               … Said records are material to this case; and [Complainant] expects
        them to be exculpatory. Moreover, only [Complainant] is entitled to the
        attorney/client work product this court currently possesses.




                                   -5-
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 5 of 30 PageID #: 5
                    … [A] client is entitled [to] any work product prepared by the lawyer for
            the client and for which the lawyer has been compensated;” Tenn. Rules of Prof.
            Conduct 1.16(d)(4).

 (T.R. Vol. I, at 17-18) (emphasis added).

       19. During the hearing on October 16, 2020, Defendant agreed with Complainant and stated,

 “You're entitled to it. You are his client.” (T.R. Vol. I, at 134).

       20. However, on November 30, 2020, notably after Frontz substituted counsel (T.R. Vol. I,

 at 80-81) and Opposing Counsel3 appeared, Defendant entered an Order (T.R. Vol. I, at 99-101),

 without conclusions of law, denying the return of Complainant’s attorney/client work product and

 making it available to other persons which is an administrative action not judicial:

                   Accordingly, the Court will direct his administrative assistant to review,
            in camera, the phone records on said thumb drive to make recommendation to
            the Court as to which phone records meet the criteria set forth herein. Thereafter,
            the Court will release those limited numbers to [Complainant] with copy to
            [Frontz’] counsel. All other requests in said motion are denied.
 (T.R. Vol. I, at 99) (emphasis added).
       21. On December 1, 2020, Complainant, pro se, filed a second motion (T.R. Vol. I, at 104-

 106) to obtain his attorney/client work product:

                   On October 16, 2020, both parties appeared before this Court and there was
            discussion about a thumb drive. The thumb drive is being held in a sealed envelope
            by the Court. The contents of the thumb drive are work product of attorney Robert
            Kurtz from a criminal case in which he represented the [Complainant]. The
            attached email from Kurtz demonstrates that this is his work product on the
            thumb drive when he highlighted and took notes of [Complainant’s] and [Frontz’]
            phone records. There may also be other attorney/client communications, notes, etc.
 (T.R. Vol. I, at 104) (emphasis added).

       22. That same day, Complainant, pro se, filed another motion (T.R. Vol. I, at 133-135) to set

 Opposing Counsel’s objection (T.R. Vol. I, at 95-96) for hearing:



 3
     All appearances of “Opposing Counsel” herein collectively refer to Douglas J. Toppenberg and Toby R. Carpenter.


                                   -6-
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 6 of 30 PageID #: 6
                    … Simply put, it does not matter whether the thumb drive contains [Frontz’]
            entire history or nothing more than pictures of cats, only [Complainant] is entitled
            to it; and it would be a clear abuse of discretion for this Court to obstruct
            [Complainant’s] access.

                    Moreover, [Complainant] himself has not seen the contents of said thumb
            drive, [] and it may contain other materials (i.e., subject matter attorney/client
            communications, notes, etc.). … it is unfathomable that the Court would even
            consider allowing anyone other than [Complainant] access to constitutionally
            protected, attorney/client confidential material.
 (T.R. Vol. I, at 134) (emphasis added).

       23. Upon information and belief, at some point thereafter, Defendant instructed his assistant,

 Rachel King, to review said thumb drive and work product and it was copied and made available

 to Opposing Counsel but not Mr. Hall.

       24. On December 10, 2020, Complainant was notified by Ms. King that a disc was available

 for him to pick up at the Knox County Fourth Circuit Court Clerk’s office. The disc that

 Complainant received contained only a limited amount of Complainant’s work product. Opposing

 counsel, however, was provided the entire file, upon information and belief, before the redacted

 file was provided to the Plaintiff – this was also administrative and not judicial.

       25. On December 11, 2020, a hearing took place and said thumb drive and work product were

 again addressed. (Transcript of December 11, 2020, Proceeding, at 26-29).4 Defendant admitted,

 “the work product is contained on the thumb drive,” (id. at 27); however, Defendant again refused

 to surrender said thumb drive to Complainant, stating “you have access to the relevant

 information.” (Id. at 28).

       26. Later, during the March 23, 2021, hearing, Defendant admitted that he had, in fact,

 provided the entirety of said thumb drive to Opposing Counsel:



 4
     Transcript not on appellate record; located in “Other” folder.



                                   -7-
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 7 of 30 PageID #: 7
                 I can answer that, Counsel. My administrative assistant did not understand
         the assignment, and copied all of the records onto the disk rather than just the days
         and times and periods that I had specified. She prov- -- she had burned a copy for
         you and a copy for Mr. Toppenberg. When she called and informed that they were
         ready, his office came and got them, looked at them, realized they were done. He
         brought his copy back. She destroyed your copy. …
                                                                                     [5]
                  I am intimately familiar with what happened there.
 (T.R. Vol. X, at 4) (emphasis added).

     27. As of filing this Complaint, said thumb drive remains under seal and in Defendant’s

 possession; and Complainant has never received nor seen the entirety of its contents. Specifically,

 despite the fact that Plaintiff’s counsel requested the same to be sent to the Court of Appeals as

 part of his designation of record, it was not sent – this was administrative not judicial.

     28. The above-described conduct, actions and/or inactions of Respondent as set forth herein

 in Count II constitute multiple violations of the Tennessee Code of Judicial Conduct, specifically:

 (1) RJC 1.1, (2) RJC 1.2, (3) RJC 2.2 and (4) RJC 2.5(A), as set forth hereinafter in paragraph

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     29. In addition, the above-described conduct, actions and/or inactions of Respondent as set

 forth herein in Count II constitute multiple violations of the Tennessee Rules of Professional

 Conduct, specifically: (1) RPC 3.4(a), (2) RPC 3.4(c), (3) RPC 4.4(b), (4) RPC 8.4(a), (5) RPC

 8.4(b) and (6) RPC 8.4(d), as set forth hereinafter in paragraph Error! Reference source not

 found..




 5
   While not presented as an alleged charge in this Complaint, it must be noted that Defendant’s statements, set forth
 in paragraph 26, were testimonial. At that moment Opposing Counsel had been placed under oath and was on the
 stand testifying under the examination of Complainant’s Counsel. Responded interjected Opposing Counsel’s
 response, and then proceeded to provide his own personal account for those matters. See RJC 2.11(A)(2)(d).


                                   -8-
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 8 of 30 PageID #: 8
    30. Further, the above-described conduct, actions and/or inactions of Respondent as set forth

 herein in Count II constitute a criminal offense of Tenn. Code § 39-16-503(a)(1), as set forth

 hereinafter in paragraph Error! Reference source not found..

    31. On November 4, 2020, Defendant entered a bridging ex parte order of protection. (T.R.

 Vol. I, at 82-83). Notably, said Order provides “to be determined by counsel” instead of a definite

 period of time, and is not signed by either Complainant or Opposing Counsel.

    32. As stated above, Swonger, supra, is of particular importance to this Complaint. In

 Swonger, Defendant was personally vacated by the Tennessee Court of Appeals for entering an

 indefinite order of protection:

                        Appeal from the Circuit Court for Knox County
                        Nos. 128217, 129498 Gregory S. McMillan, Judge

                …

                Husband contends that … indefinitely extending the existing order of
        protection was void because the trial court was constrained to grant only those
        remedies available pursuant to Tennessee Code Annotated §§ 36-3-601, et seq., the
        statutes concerning orders of protection. … We agree with Husband.

                …
                … no authority provides for the issuance of a permanent, open ended order
        of protection.

               Tennessee Code Annotated § 36-3-601, et seq., provides the statutory
        framework pertaining to orders of protection. This statutory scheme contains
        sections mandating that a definite time frame be specified for such orders.

          …

                Likewise, Tennessee Code Annotated § 36-3-608 provides: (a) All orders
        of protection shall be effective for a fixed period of time, not to exceed one (1) year.

          …

              For the foregoing reasons, we vacate the trial court's issuance of a
        permanent, open-ended order of protection.




                                   -9-
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 9 of 30 PageID #: 9
  Swonger, supra (emphasis original).
      33. Irrefutably, Defendant actually knew that an indefinite order of protection was unlawful;

  and yet he entered an indefinite order of protection in the underlying case.

      34. Moreover, Defendant cannot deny that he blatantly disregarded the law because he

  admitted to doing so: “I entered another bridging order that was indefinite in time.” (T.R. Vol. IV,

  at 147 (emphasis added) (Transcript of Proceedings Feb.5, 2021) (Exhibit O). Likewise, Opposing

  Counsel stated the same. (T.R. Vol. IV at 24).

      35. Defendant may contend that said Order was entered “per agreement of counsel” (T.R.

  Vol. IV, at 147); however, “no authority provides for the issuance of a permanent, open ended

  order of protection;” Swonger, supra at *7. Period. Further, there is no indication that said Order

  was agreed; see Tenn. Code Ann. § 36-3- 609(a).6 With certainty, the Order was not signed by

  either party and does not contain a certificate that it was served. Moreover, the Knox County

  Fourth Circuit Court Clerk’s office has no record of the November 4, 2020, hearing; there are no

  video or audio recordings of said hearing, and no entry of said hearing in the Rule Docket.

      36. The above-described conduct, actions and/or inactions of Respondent as set forth herein

  in Count III constitute multiple violations of the Tennessee Code of Judicial Conduct, specifically:

  (1) RJC 1.1, (2) RJC 1.2, (3) RJC 2.2, (4) RJC 2.3(A), (5) RJC 2.5(A), (6) RJC 2.7, (7) RJC 2.8(B)

  and (8) RJC 2.11(A), as set forth hereinafter in paragraph Error! Reference source not found..

      37. In addition, the above-described conduct, actions and/or inactions of Respondent as set

  forth herein in Count III constitute multiple violations of the Tennessee Rules of Professional



  6
     “If the Defendant has been served with a copy of the petition, notice of hearing, and any ex parte order issued
  pursuant to § 36-3-605(c), any subsequent order of protection shall be effective when the order is entered. For purposes
  of this section, an order shall be considered entered when such order is signed by: (1) The judge and all parties or
  counsel; (2) The judge and one party or counsel and contains a certificate of counsel that a copy of the proposed
  order has been served on all other parties or counsel; or (3) The judge and contains a certificate of the clerk that a copy
  has been served on all other parties or counsel.” Tenn. Code § 36-3-609(a) (emphasis added).


                                   - 10 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 10 of 30 PageID #: 10
  Conduct, specifically: (1) RPC 3.4(c), (2) RPC 8.4(a) and (3) RPC 8.4(d), as set forth hereinafter

  in paragraph Error! Reference source not found..

      38. Further, the above-described conduct, actions and/or inactions of Respondent as set forth

  herein in Count III constitutes criminal offenses of Tenn. Code §§ 39-16-403(a)(1) and (2), as set

  forth hereinafter in paragraph Error! Reference source not found..

      39. On October 9, 2020, Frontz filed her first motion for continuance, seeking delay for nearly

  two months until December 4, 2020. (T.R. Vol. I, at 47-48). Complainant objected, citing Luker v.

  Luker, 578 S.W.3d 450 (Tenn. Ct. App. 2018). (T.R. Vol. I, at 47-48). Then during the October

  16, 2020, hearing, Complainant further argued:

                  Luker states explicitly that a temporary order of protection cannot be
          extended for discovery requests made by the petitioner. The exact wording is, “A
          petitioner cannot extend the ex parte order of protection beyond the 15-day limit
          by requesting discovery.”

                 … “It is only a Defendant who has the ability to request a hearing be
          postponed to allow for discovery with the ex parte order.” …

  (T.R. Vol. II, at 229).

      40. Defendant initially denied Frontz’ requested continuance and scheduled trial on

  November 5, 2020. However, after Opposing Counsel appeared everything changed: on November

  4, 2020, directly before trial, Opposing Counsel requested another continuance, which Defendant

  granted; and, simultaneously, Defendant entered the aforesaid indefinite order of protection

  (which, as discussed earlier herein in Count III, was unlawful and void).

      41. On December 4, 2020, Complainant, pro se, filed a “Motion to Set an Immediate Trial

  Date; or, in the Alternative, Dissolve the Temporary (Ex Parte) Order of Protection” (T.R. Vol. I,

  at 137-141); and noticed said Motion for hearing on December 11, 2020. Of particular importance,

  said Motion states: “[Complainant] is ready to proceed to trial, even if he must do so without




                                   - 11 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 11 of 30 PageID #: 11
  discovery or the assistance of counsel, in effort to resolve this case and simply move forward.”

  (T.R. Vol. I, at 140).

      42. During the December 11, 2020, hearing, the following pertinent exchange occurred:

                    [Defendant]: … [Frontz] is not even here to offer testimony in defense
            against your motion to dismiss.

                     …

                   [Complainant]: … we have had three bridging orders so far and this case
            has prolonged for five months. That is the urgency that I have today.

                     [Defendant]: The Court sits here ready to try this case at any point.

                     [Complainant]: I’m ready. I’m ready today, Judge, if they want to go to
            trial right now.

                     [Defendant]: Mr. Toppenberg, are you ready to go to trial on this case
            today?

                   [Opposing Counsel]: I’m not, Your Honor. … we have engaged the
            services of an expert witness that -- who is going to need until the end of
            January to be ready.

                     …

                     [Defendant]: February 5th is my first open day …

                   [Complainant]: If that’s the first day, I suppose I have to take it. But again,
            I would have to object just for the amount of delay that we’ve already had, Judge.

  (Transcript of December 11, 2020, Proceeding, at 10-16) (emphasis added).

      43.     “[I]t [was] only [Complainant] who [had] the ability to request that the hearing be

  postponed to allow for discovery with the ex parte order of protection remaining in effect.” Luker,

  supra. “The prompt hearing requirement limits the potential for abuse by protecting Defendants

  from possible ongoing frivolous or retaliatory ex parte protective orders.” Kite v. Kite, 22 S.W.3d

  803, 806 (Tenn. 1997). Notably, during the earlier October 16, 2020, hearing, Defendant had

  stated, “the ex parte order of protection shall remain in effect through the new hearing, at which



                                   - 12 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 12 of 30 PageID #: 12
  point it will be dissolved or extended.” (T.R. Vol. II, at 232). Also, Frontz failed to appear on

  December 11, 2020. (Transcript, supra, at 10).

        44. Regardless of those facts, Defendant granted Opposing Counsel’s requested continuance

  (Transcript, supra, at 15-16) and the indefinite order of protection remained, blatantly violative of

  Luker and Kite. Thereafter, Opposing Counsel was allowed to control the proceedings.7

        45. The above-described conduct, actions and/or inactions of Respondent as set forth herein

  in Count IV constitute multiple violations of the Tennessee Code of Judicial Conduct, specifically:

  (1) RJC 1.1, (2) RJC 1.2, (3) RJC 1.3 (4) RJC 2.2, (5) RJC 2.3(A), (6) RJC 2.4(B), (7) RJC 2.5(A),

  (8) RJC 2.7, and (9) RJC 2.11(A), as set forth hereinafter in paragraph Error! Reference source

  not found..

        46. In addition, the above-described conduct, actions and/or inactions of Respondent as set

  forth herein in Count IV constitute multiple violations of the Tennessee Rules of Professional

  Conduct, specifically: (1) RPC 3.2, (2) RPC 3.4(c), (3) RPC 8.4(a), and (4) RPC 8.4(d), as set forth

  hereinafter in paragraph Error! Reference source not found..

        47. On February 2, 2021, Opposing Counsel filed a “Motion to Allow Expert Witness

  Testimony by Video.” (T.R. Vol. III, at 321-330).

        48. The next day, on February 3, 2021, notably at 3:42 p.m., Opposing Counsel filed a

  “Notice of Expedited Hearing” (T.R. Vol. III, at 331-332), setting the aforesaid Motion for hearing

  the following morning at 8:30 a.m.

        49. Said Notice purports that Opposing Counsel did not serve Complainant or his counsel: 8



  7
    As discussed hereinafter, Defendant effectively allowed Opposing Counsel to delay trial indefinitely, have motions
  heard regardless of timeliness and notice requirements, communicate ex parte with Defendant, and ultimately rack up
  a clearly excessive amount ($77,525.75) of attorney fees.
  8
      As discussed hereinafter, even had Opposing Counsel served said Motion or Notice, neither were timely.



                                   - 13 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 13 of 30 PageID #: 13
                   I personally delivered a copy of this motion to Darren Berg’s office. The
           front door of the building was locked and I rang the doorbell and knocked several
           times. There were no cars in the parking lot and I couldn’t see any lights on the
           inside. I taped an envelope with the motion copy on the front door.
  (T.R. Vol. III, at 332).

      50. The next morning, on February 4, 2021, without the presence or knowledge of

  Complainant or Complainant’s Counsel, Defendant conducted an ex parte hearing, and the

  following exchange took place:

                  [Defendant]: We are here today pursuant to a notice of expedited hearing
           that was filed February 3rd, and it gave notice to Mr. Berg that there would be a
           hearing today, February 4th, at 8:30 a.m., on Mr. Toppenberg's motion filed
           February 2nd asking to allow the testimony of his expert by Zoom. …

                   Pursuant to this Court's authority under the Rules of Civil Procedure, the
           Court deemed it necessary to have this hearing on an expedited basis, waived the
           five days notice …

                   The Court having review the motion and reviewed the facts asserted therein
           and [] Mr. Berg having failed to respond or appear today at the hearing that was
           notice on Mr. Toppenberg’s motion, the Court makes the following finding of facts
           based on that motion: … the Court will allow his testimony and cross-examination
           to occur by Zoom at the trial of this case tomorrow beginning at 9 a.m. …

                    Mr. Toppenberg you'll prepare an order?

                    [Opposing Counsel]: I will. … and I presume the Court knows that Mr.
           Hall is in custody. [9] So I'm not really sure how the hearing is going to proceed
           tomorrow, but I would like to be able to tell Dr. Leonard he could appear a little
           later in the day.

                   [Defendant]: What do you mean? Here's the key, Doug. What do you mean
           by “a little bit later in the day”? …




  9
     It is important to note that Complainant’s arrest was based solely on charges that Opposing Counsel personally
  obtained, in retaliation for complaints filed against them with the Board of Professional Conduct (explicitly, the
  charging instruments state said BPR complaints). It is also important to note that immediately after Complainant’s
  arrest, --on the same day of the ex parte hearing-- Opposing Counsel filed a plethora of pleadings, approximately
  sixty-seven (67) pleadings and hundreds of pages, that by volume alone was clearly planned and blatantly violative of
  RPC 4.4, in Knox County First Circuit Court (case no.1-299-20), wherein Complainant has filed suit against Frontz.



                                   - 14 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 14 of 30 PageID #: 14
                    [Opposing Counsel]: Well, he asked for noon. You can rule however you
             want, but he says he's, you know, on a schedule where he stays up most of the night
             doing his work …

                     [Defendant]: Well, you know, I certainly don’t mind taking him first thing
             if that will let him then go to bed and be done for the day, or you know, I’ll wait
             for him as the last witness. …

                     And yes. I don’t know how this hearing is going to go with Mr. Hall in jail.
             [] I learned that today when they told me they brought him up -- over for
             today’s hearing. And I said, “I don’t need him for today, I need him for
             tomorrow.”

                     So the show cause allegation are at least related apparently to the events for
             which he was arrested. Although the complainant and victim is Toby Carpenter
             in those, they're the same as the events that you allege are going to show cause. …

  (Transcript of February 4, 2021, Proceeding, at 2-6) (emphasis added). 10
        51. The foregoing communications between Defendant and Opposing Counsel were clearly

  ex parte. Admittedly, Defendant even prevented Complainant’s attendance! (Id. at 6).

        52. Separately, Defendant’s statement, “I learned that today when they told me” (id. at 5-6)

  clearly demonstrates that Defendant communicated ex parte with other persons or independently

  investigated facts in the matter. Likewise, Defendant’s statement, “the complainant and victim is

  Toby Carpenter” (id. at 6) is evidence of the same, as that particular detail was never presented

  until Defendant presented it first; and, in fact, that detail could not have been presented earlier,

  because Complainant had only been arrested approximately eighteen (18) hours earlier.

        53. The above-described conduct, actions and/or inactions of Respondent as set forth herein

  in Count V constitute multiple violations of the Tennessee Code of Judicial Conduct, specifically:

  (1) RJC 1.1, (2) RJC 1.2, (3) RJC 1.3, (4) RJC 2.2, (5) RJC 2.3(A), (6) RJC 2.4(B), (7) RJC 2.5(A),

  (8) RJC 2.6(A), (9) RJC 2.7, (10) RJC 2.8(B), (11) RJC 2.9(A), (12) RJC 2.9(C) and (13) RJC

  2.11(A), as set forth hereinafter in paragraph Error! Reference source not found..


  10
       Transcript not on appellate record; located in “Other” folder.


                                   - 15 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 15 of 30 PageID #: 15
         54. In addition, the above-described conduct, actions and/or inactions of Respondent as set

  forth herein in Count V constitute multiple violations of the Tennessee Rules of Professional

  Conduct, specifically: (1) RPC 3.4(a), (2) RPC 3.4(c), (3) RPC 8.4(a), (4) RPC 8.4(b) and (5) RPC

  8.4(d), as set forth hereinafter in paragraph Error! Reference source not found..

         55. Further, the above-described conduct, actions and/or inactions of Respondent as set forth

  herein in Count V constitute criminal offense of Tenn. Code § 39-16-402(a)(1) and § 39-16-

  403(a)(2), as set forth hereinafter in paragraph Error! Reference source not found..

         56. On January 19, 2021, Opposing Counsel filed a “Motion for Contempt” (T.R. Vol. II, at

  289-300) alleging Complainant had violated the indefinite ex parte order of protection.

         57. Objectively, the merits of said Motion are irrelevant. Defendant’s November 4, 2020,

  indefinite order of protection was clearly unlawful; and the various authorities (i.e., Luker; Kite;

  Swonger; Tenn. Code § 36-3-601, et seq.) are simply overwhelming.

         58. As this Board has previously noted, “[o]nce the Tennessee Supreme Court has addressed

  an issue, its decision regarding that issue is binding on the lower courts.” Webb v. Nashville Area

  Habitat for Humanity, 346 S.W.3d 422, 430 (Tenn. 2011).11 Kite, supra, is binding; and because

  Defendant was required to dissolve the ex parte order of protection when Opposing Counsel

  repeatedly delayed, there was not a lawful order of protection for which Complainant could be

  held in contempt of. Regardless, the indefinite ex parte order of protection was clearly unlawful.

  “The threshold issue in any contempt proceeding is whether the order alleged to have been violated

  is ‘lawful.’ A lawful order is one issued by a court with jurisdiction over both the subject matter

  of the case and the parties.” Konvalinka v. Chattanooga-Hamil, 249 S.W.3d 346, 355 (Tenn.

  2008). “Subject matter jurisdiction is conferred by statute or the Tennessee Constitution; the



  11
       See December 15, 2020, Public Release; File No. B20-8336.


                                   - 16 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 16 of 30 PageID #: 16
  parties cannot confer it by appearance, plea, consent, silence, or waiver.” Johnson v. Hopkins, 432

  S.W.3d 840, 843-44 (Tenn. 2013).

     59. The above-described conduct, actions and/or inactions of Respondent as set forth herein

  in Count VI constitute multiple violations of the Tennessee Code of Judicial Conduct, specifically:

  (1) RJC 1.1, (2) RJC 1.2, (3) RJC 2.2, (4) RJC 2.3(A), (5) RJC 2.5(A), and (6) 2.11(A), as set forth

  hereinafter in paragraph Error! Reference source not found..

     60. In addition, the above-described conduct, actions and/or inactions of Respondent as set

  forth herein in Count VI constitute multiple violations of the Tennessee Rules of Professional

  Conduct, specifically: (1) RPC 3.4(c), (3) RPC 8.4(a), (4) RPC 8.4(b) and (5) RPC 8.4(d), as set

  forth hereinafter in paragraph Error! Reference source not found..

     61. Further, the above-described conduct, actions and/or inactions of Respondent as set forth

  herein in Count VI constitute criminal offenses of Tenn. Code § 39-16-402(a)(1) and § 39-16-

  403(a)(1), as set forth hereinafter in paragraph Error! Reference source not found..

     62. On January 20, 2021, Complainant, through Counsel, filed several motions (T.R. Vol. III,

  at 305-310) and a Notice of Hearing (T.R. Vol. III, at 303-304), setting said motions and others

  filed earlier by Complainant, pro se, for hearing on January 29, 2021.

     63. During the January 29, 2021, hearing, at the request of Opposing Counsel, Defendant

  refused to hear or consider Complainant’s motions, citing Tenn. R. Civ. P. 6, et seq., even though

  said motions had been properly noticed nine (9) days or months in advance:

                 [Defendant]: All right. Let’s see. I have a number of notices. One filed 1/20
         of ’21, notice of hearing by Darren Berg for 1/29 to set an immediate trial date.

                 …

                [Opposing Counsel]: Your honor, can I interject? I don’t think he has
         probably noticed the Court for any of his motions today. …




                                   - 17 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 17 of 30 PageID #: 17
               …

                     [Defendant]: They’re all filed on the 22cd and they were marked served on
             the 21st. What rule are you relying on if he sent notice on the 21st and it’s not
             timely filed for the 29th?

                      [Opposing Counsel]: He didn’t serve it on the 21st.

                      [Counsel for Complainant]: I did too. I mailed it and emailed it …

                      …

                     [Defendant]: Okay. Mr. Berg, Rule 6.04, a written motion and notice
             thereof under Rule 6.04 shall --mandatory-- be served not later than five days before
             the time specified for the hearing. That is five days under the computation of time.
             It doesn’t include Saturdays or Sundays or the day of the even. And if it’s done by
             mail, three additional days are added. Your motion is not timed filed to be heard
             today.

                      …

                    [Counsel for Complainant]: How is it not timely filed if I mailed it -- I
             mailed it last Thursday.

                   [Defendant]: Mr. Toppenberg has not received it. You have no proof to
             the Court other than that. …

                      …

                      So I guess we go to trial [] on Friday on the original petition.”

  (Transcript of January 29, 2021, Proceeding, at 2-16) (emphasis added). 12

        64. All of the motions filed by Complainant, pro se, had been noticed nearly two months in

  advance, “or as soon thereafter as the parties may be heard” (see, e.g., T.R. Vol. I, at 141).

        65. After that hearing, Opposing Counsel filed a Notice of Hearing (T.R. Vol. III, at 319-

  320), setting three (3) motions (including the “Motion for Contempt” discussed earlier herein in

  Count VI) for hearing on February 5, 2021 -- the day of trial. Notably, however, under Defendant’s



  12
       Transcript not on appellate record; located in “Other” folder.


                                   - 18 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 18 of 30 PageID #: 18
  January 29, 2021, determination of Rule 6, et seq., Opposing Counsel had not timely noticed said

  motions for hearing that date.

     66. Thereafter (as discussed earlier herein in Count V), on February 2, 2021, Opposing

  Counsel filed a “Motion to Allow Expert Witness Testimony by Video;” and, the next day filed a

  “Notice of Expedited Hearing,” setting said Motion for hearing the next morning.

     67. During the February 4, 2021, ex parte hearing, --in stark contrast to his previous ruling

  on January 29, 2021-- Defendant stated the following:

                 Pursuant to this Court's authority under the Rules of Civil Procedure, the
         Court deemed it necessary to have this hearing on an expedited basis, waived the
         five days notice …
  (Transcript of February 4, 2021, Proceeding at 3).
     68. It is important to note that Opposing Counsel had known of the trial date since the

  December 11, 2020, hearing. It was, in fact, Opposing Counsel who had requested continuance

  (see preceding paragraphs 42-44) to obtain additional time for their expert witness, and upon which

  the trial date was scheduled; thus, the necessity for an expedited hearing, particularly concerning

  the same expert witness said continuance was granted, remains questionable.

     69. It is also important to note that neither Complainant nor Complainant’s Counsel were

  aware of the February 4, 2021, ex parte hearing when it occurred. As stated earlier in paragraph

  51, Defendant admittedly prevented Complainant’s attendance.

     70. Despite those facts, Defendant granted Opposing Counsel’s Motion, notably waiving the

  same five (5) day notice requirement that Defendant had cited on January 29, 2020, while refusing

  to hear Complainant’s motions (which, as stated above, were filed nine (9) days or months in

  advance). Complainant clearly had no notice and Opposing Counsel had no proof of notice; but

  unlike the favorability previously shown to Opposing Counsel (“Mr. Toppenberg has not received




                                   - 19 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 19 of 30 PageID #: 19
  it. You have no proof to the Court other than that.”) (Transcript of January 29, 2021, Proceeding,

  at 10), when the same circumstance involved Complainant, Defendant did not care.

     71. The following day, on February 5, 2021, both parties appeared for trial. Pursuant to

  Defendant’s earlier statement, “we go to trial [] on Friday on the original petition” (id. at 16)

  (emphasis added), and not yet knowing of the ex parte hearing the previous day, Complainant did

  not anticipate any other matters. Suddenly, however, and instead of trial, Defendant --again and

  exclusively-- waived the five (5) day notice requirement for Opposing Counsel and allowed them

  to proceed with their Motion for Contempt. Notably, again, that Motion under Defendant’s prior

  ruling was untimely noticed (see preceding paragraph 65). Regardless, Defendant thereafter

  allowed Opposing Counsel to control the proceeding:

                  [Opposing Counsel]: … [R]ather than filing a second order of protection of
         all of those matters, I would like to supplement the petition …

                And then on the motion for contempt, we have a motion for contempt on
         the temporary order of protection. We’re asking that that be heard today as well.

                 …

                 [Counsel for Complainant]: As we discussed last week in the virtual
         hearing, Your Honor, under Rule 6.01 of the Tennessee Rules of Civil procedure,
         computation of time, we may not include the date on which the notice was filed in
         this court.

                 …

                  It is not timely. Period. And, by the way, neither is his request, his motion
         filed this week, for a virtual expert. …

                 …

                [Defendant]: The Court finds that effective notice of the notice for hearing
         on the motion to supplement has been effected and served.

                 …




                                   - 20 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 20 of 30 PageID #: 20
                [Opposing Counsel]: And so that I understand, you’re going to reserve the
         motion for contempt until after we’ve considered --

                 …

                 [Defendant]: All right. Well, you have a choice. You can either [have] trial
         on the underlying order of protection, or we can try the show cause first.

  (T.R. Vol. IV, at 5-28).

     72. Of course, Opposing Counsel opted to have their Motion for Contempt heard first.

  Subsequently, Defendant found and held Complainant in contempt. Complainant’s Counsel then

  presented Complainant with two (2) options: Complainant could either continue to trial or seek

  bond; there was not enough time to do both, and he risked spending the weekend in jail. Naturally,

  Complainant chose the latter; and, foregoing the trial he had repeatedly requested (see, e.g.,

  preceding paragraph 41), an agreed order of protection (T.R. Vol. III, at 343-351) was entered.

     73. Thereafter, without written motion, Opposing Counsel filed an “Affidavit of Attorney

  Fees and Expenses” (T.R. Vol. III, at 357-393) and later noticed a hearing for March 19, 2021

  (T.R. Vol. III, at 402). Consequently, on March 11, 2021, Complainant’s Counsel filed Notices of

  Deposition for Frontz and Opposing Counsel on March 18, 2021, with regard to the attorney fees

  sought. However, on March 17, 2021, Defendant, sua sponte, suddenly entered another Order

  (T.R. Vol. III, at 409-411), that was notably handwritten. Said Order quashed Complainant’s

  Notices for not being “set 5 days in advance,” even though, clearly, they were.

     74. On every opportunity, Defendant unilaterally applied the Rules of Civil Procedure to the

  determent of Complaint and favor of Opposing Counsel. (See also paragraph 88).

     75. The above-described conduct, actions and/or inactions of Respondent as set forth herein

  in Count VII constitute multiple violations of the Tennessee Code of Judicial Conduct,

  specifically: (1) RJC 1.1, (2) RJC 1.2, (3) RJC 2.2, (4) RJC 2.3(A), (5) RJC 2.5(A), (6) RJC 2.6(A),




                                   - 21 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 21 of 30 PageID #: 21
  (7) RJC 2.7, (8) RJC 2.8(B) and (9) RJC 2.11(A), as set forth hereinafter in paragraph Error!

  Reference source not found..

        76. In addition, the above-described conduct, actions and/or inactions of Respondent as set

  forth herein in Count VII constitute multiple violations of the Tennessee Rules of Professional

  Conduct, specifically: (1) RPC 3.2, (2) RPC 3.4(c), (3) RPC 8.4(a), (4) RPC 8.4(b) and (5)

  RPC8.4(d), as set forth hereinafter in paragraph Error! Reference source not found..

        77. Further, the above-described conduct, actions and/or inactions of Respondent as set forth

  herein in Count VII constitute multiple criminal offenses of Tenn. Code§ 39-16-403(a)(2), as set

  forth hereinafter in paragraph Error! Reference source not found..

        78. The February 5, 2021, agreed order of protection (T.R. Vol. III, at 343-351) was a final

  and appealable order. According to Defendant, “The Court [made] no findings of facts” (T.R. Vol.

  V, at 5); and “It’s a final order [] subject to appeal.” (T.R. Vol. V, at 10). Further, the Court’s

  records specifically list said agreed order of protection as “Final Order.” 13

        79. On February 9, 2021, Complainant timely filed his Notice of Appeal (T.R. Vol. III, at

  354-355). As of that moment the Knox County Fourth Circuit Court no longer had jurisdiction of

  the underlying case. State v. Pendergrass, 937 S.W.2d 834, 837 (Tenn. 1996).

        80. However, on February 16, 2021, Opposing Counsel filed the aforesaid “Affidavit of

  Attorney Fees and Expenses” and Notice of Hearing (see preceding paragraph 73), despite no

  accompanying written motion (see Tenn. R. Civ. P. 7.02). 14




  13
       See https://courtclerk.knoxapps.org/eCommerceClient/User/Search; docket no. “F-20-149454”
  14
     “An application to the court for an order shall be by motion which, unless made during a hearing or trial, shall be
  made in writing, shall state with particularity the grounds therefor, and shall set forth the relief or order sought. The
  requirement of writing is fulfilled if the motion is stated in a written notice of the hearing of the motion.” Tenn. R.
  Civ. P. 7.02(1).



                                   - 22 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 22 of 30 PageID #: 22
     81. During the March 19, 2021, hearing, because Defendant had quashed Complainant’s

  earlier Notices of Deposition (see preceding paragraph 73), Opposing Counsel was placed under

  oath and, in pertinent part, testified the following:

                [Counsel for Complainant]: … Do you recall how much of this time entry
         of 3.25 hours was for your review of the correspondence between the Board and
         Mr. Carpenter?

                 [Opposing Counsel]: … Sorry. I don’t recall.

                [Counsel for Complainant]: It says that you “Prepared a mid-month billing
         statement and sent it to the client.” Do you actually bill your clients for preparing a
         bill?

                 [Opposing Counsel]: Sometimes. Because it takes a good deal of my time.

  (T.R. Vol. IX, at 47).


     82. Shortly after that testimony, the March 19, 2021, hearing was recessed; and on March 23,

   2021, in pertinent part, Opposing Counsel further testified as follows:

                 [Counsel for Complainant]: On December 14th, you have an entry, page 6
         of that December 29th bill, for 3.00 hours at the top of the page. … Is the majority
         of that 3.00 hours the Board of Professional Responsibility time?

                [Opposing Counsel]: … yeah, the majority of the rest of that was just
         dealing with the Board complaint that your client had indirectly filed.

              [Counsel for Complainant]: The next day, 12-15, you've got 3.25 hours …
         How much of that 3.25 hour was dealing with the Board complaints?

                 [Opposing Counsel]: You know, to answer that would just be speculation…

                 …

                [Counsel for Complainant]: Okay. The same question with regard to 12-16
         on the BPR matter. How much time was that spent out of the 4.50 hour for your
         time entry?

                 [Opposing Counsel]: When I got the Board complaint, whatever day that
         was -- on the 14th, I prepared a response that same day, a little one-page response.
         So thereafter, it wasn't a lot of time spent on it other than, you know, there was
         correspondence back and forth with Doug Bergeron, who was the disciplinary


                                   - 23 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 23 of 30 PageID #: 23
           counsel. Obviously, the firm management was very concerned about Board
           complaints, for obvious reasons. So I'm sure I discussed that with them some.

  (T.R. Vol. X, at 7-9).

       83. It is important to note that all of the events presented herein Count VIII were after the

  Court lost jurisdiction, because Complainant had filed a Notice of Appeal. See Pendergrass,

  supra.

       84. It is also important to note that a hearing on the petition for the ex parte order of protection

  never took place. As Defendant admitted, “[t]hat trial never occurred.” (T.R. Vol. III at 422; see

  also T.R. Vol. V at 6). Pursuant to Tenn. Code § 36-3-617(a)(1), cost and attorney fees can only

  be assessed “after the hearing on the petition;” id. 15

       85. It is equally important to note that Opposing Counsel admittedly billed their client for

  time spent preparing that very bill; in other words, “taxes on top of taxes.” Such billing is unethical

  and violative of RPC 1.5; and clearly such billing is not recoverable. Additionally, Opposing

  Counsel admittedly billed substantial hours for time spent dealing with the Board of Professional

  Conduct. Not only was such billing unfair to their client but clearly outside scope of the underlying

  case. New v. Dumitrache, 604 S.W.3d 1 (Tenn. 2020), which Complainant’s Counsel cited (T.R.

  Vol. IX at 13) is binding and makes clear, “Tennessee Code Annotated section 36-3-617(a)(1) does




  15
     “Notwithstanding any other law to the contrary, no domestic abuse victim, stalking victim, sexual assault victim,
  or victim of a felony offense under title 39, chapter 13, part 1, 2, 3, or 5 shall be required to bear the costs, including
  any court costs, filing fees, litigation taxes or any other costs associated with the filing, issuance, registration, service,
  dismissal or nonsuit, appeal or enforcement of an ex parte order of protection, order of protection, or a petition for
  either such order, whether issued inside or outside the state. If the court, after the hearing on the petition, issues or
  extends an order of protection, all court costs, filing fees, litigation taxes and attorney fees shall be assessed against
  the Defendant.” Tenn. Code § 36-3-617(a)(1) (emphasis added).




                                   - 24 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 24 of 30 PageID #: 24
  not authorize an award of attorney's fees for matters unrelated to obtaining an order of protection.”

  Id. at 22. Separately, Complainant is also immune pursuant to Tenn. R. Sup. Ct. 9 § 17. 16

       86. Last, it is important to note that Opposing Counsel admittedly billed the majority of their

  hours for time spent prosecuting the Motion for Contempt. (T.R. Vol. X, at 14-15). New, supra,

  also makes clear that “section 36-3-617(a)(1) did not authorize an award of attorney's fees incurred

  in successfully prosecuting a petition for criminal contempt alleging a willful violation of an order

  of protection.” Id. Further, as Opposing Counsel testified, “[t]he Court ruled that if there was time

  spent on contempt, that it was not billable.” (T.R. Vol. X, at 14).

       87. Despite all of the facts in preceding paragraphs 83-86, on April 23, 2021, Defendant

  entered an Order (T.R. Vol. III, at 412-425) awarding Opposing Counsel $77,525.75 in attorney

  fees and cost. Said amount is clearly excessive; and, comparatively, on information and belief,

  similar orders of protection in the Knoxville area are routinely $5,000.00 to $10,000.00 at most.

  Notably, Defendant stated, “Mr. Hall's litigation choices should not preclude Ms. Frontz from

  receiving an award of attorney fees” (T.R. Vol. III, at 421); however, the record is clear that

  Complainant had absolutely no choice in the litigation.

       88. In that same regard (that Complainant had no choice in the litigation), Opposing

  Counsel’s March 23, 2021, “Statement” (Ex. Vol. III, Exhibit 1) and “Prebill” (Ex. Vol. III, Exhibit

  2) are, perhaps, most instructive. Neither of those documents were ever filed; they are not on

  record with Knox County Fourth Circuit Court; and were notably transmitted to the Court of

  Appeals as exhibits. Likewise, Complainant was not afforded an opportunity to respond; and yet



  16
      “Complainants and witnesses shall be immune from civil suit with respect to any communications to the Board,
  district committee members, Disciplinary Counsel or staff relating to attorney misconduct or disability or any
  testimony in the proceedings regarding the same, unless the information which the complainant or witness provides
  in such communication or such testimony is false and the complainant or witness had actual knowledge of the falsity.”
  Tenn. R. Sup. Ct. 9 § 17.



                                   - 25 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 25 of 30 PageID #: 25
  Defendant used those documents to increase the original amount Opposing Counsel sought, from

  $64,807.00 (T.R. Vol. III at 357) to the final amount, $77,525.75, (T.R. Vol. III, at 424) awarded

  thereafter.

      89. The above-described conduct, actions and/or inactions of Respondent as set forth herein

  in Count VIII constitute multiple violations of the Tennessee Code of Judicial Conduct,

  specifically: (1) RJC 1.1, (2) RJC 1.2, (3) RJC 2.2, (4) RJC 2.3(A), (5) RJC 2.5(A), and (6) RJC

  2.11(A), as set forth hereinafter in paragraph Error! Reference source not found..

      90. In addition, the above-described conduct, actions and/or inactions of Respondent as set

  forth herein in Count VIII constitute multiple violations of the Tennessee Rules of Professional

  Conduct, specifically: (1) RPC 3.4(c), (2) RPC 8.4(a), (3) RPC 8.4(b) and (4) RPC 8.4(d), as set

  forth hereinafter in paragraph Error! Reference source not found..

      91. Further, the above-described conduct, actions and/or inactions of Respondent as set forth

  herein in Count VIII constitute criminal offenses of Tenn. Code § 39-16-402(a)(1) and § 39-16-

  403(a)(2), as set forth hereinafter in paragraph Error! Reference source not found..

                                         CAUSES OF ACTION

                           COUNT I – VIOLATION OF 42 U.S.C. § 1983

      92. Plaintiff restates Paragraphs 1-93 in support of Count I.

      93. At all times material hereto Judge McMillan was acting under color of state law in his

  position as a Tennessee Judge for the Sixth Judicial District, Fourth Circuit Court.

      94. The acts of Judge McMillan as set forth herein are acts which are not within the purview

  of his judgeship as they are illegal and in violation of Plaintiff’s constitutional rights to due process.

      95. Quite simply, a judge cannot break the law and expect immunity simply because he broke

  the law while in his capacity as a judge even if those illegal acts are performed while on the bench.




                                   - 26 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 26 of 30 PageID #: 26
     96. Every person who, under color of any statute, ordinance, regulation, custom, or usage, of

  any State or Territory or the District of Columbia, subjects, or causes to be subjected, any citizen

  of the United States or other person within the jurisdiction thereof to the deprivation of any rights,

  privileges, or immunities secured by the Constitution and laws, shall be liable to the party injured

  in an action at law, suit in equity, or other proper proceeding for redress, except that in any action

  brought against a judicial officer for an act or omission taken in such officer’s judicial capacity,

  injunctive relief shall not be granted unless a declaratory decree was violated or declaratory relief

  was unavailable. For the purposes of this section, any Act of Congress applicable exclusively to

  the District of Columbia shall be considered to be a statute of the District of Columbia. 42 U.S.C.

  § 1983 et seq.

     97. Moreover, the Fifth Amendment creates a number of rights relevant to both criminal and

  civil legal proceedings. In criminal cases, the Fifth Amendment guarantees the right to a grand

  jury, forbids "double jeopardy," and protects against self-incrimination. It also requires that "due

  process of law" be part of any proceeding that denies a citizen "life, liberty or property" and

  requires the government to compensate citizens when it takes private property for public use.

     98. Due Process - the Fifth Amendment says to the federal government that no one shall be

  "deprived of life, liberty or property without due process of law." The Fourteenth Amendment,

  ratified in 1868, uses the same eleven words, called the Due Process Clause, to describe a legal

  obligation of all states. These words have as their central promise an assurance that all levels of

  American government must operate within the law ("legality") and provide fair procedures.

     99. Any ex-parte hearing or lack of due process would render the judgment void on its face.

  Plaintiff enjoys the right to fair notice and a fair hearing which is guaranteed by this amendment

  (First) as incorporated in Amendment 14, or which is embodied in the concept of "liberty" as that




                                   - 27 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 27 of 30 PageID #: 27
  word is used in the Due Process Clause of the 14th Amendment and Equal Protection Clause of

  the 14th Amendment. Mabra v. Schmidt, 356 F Supp 620; DC, WI (1973).

      100. Officials and judges are deemed to know the law and sworn to uphold the law; officials

  and judges cannot claim to act in good faith in willful deprivation of law, they certainly cannot

  plead ignorance of the law, even the Citizen cannot plead ignorance of the law, the courts have

  ruled there is no such thing as ignorance of the law Cooper v. Aaron, 358 U.S. 1, 78 S.Ct. 1401

  (1958). "No state legislator or executive or judicial officer can war against the Constitution without

  violating his undertaking to support it.

      101. Defendant has abrogated his oath not only to the Tennessee Constitution but also the

  United States Constitution as set forth herein by the shocking actions he has taken.

      102. Indeed, while a judge performing judicial functions may enjoy immunity, denial of

  constitutional and civil rights are absolutely not a judicial function and conflicts with any definition

  of a judicial function.

      103. In a limited government, limited by the constitution, the violation of citizens rights should

  never be justified due to overriding government goals or objectives – nor judicial immunity, and

  that no branch of government be allowed to extend its power beyond its legal limits. In a

  government by the people, it is a threat to an individuals’ way of life to allow government actors

  to ignore the guidelines that define their power.

      104. Applying the Stump Test to these set of facts this Defendant is clearly stripped of

  immunity.

                  a. Was the averments set forth herein the kind of act the judge normally

                      performs? No, the Defendant acted Ultra Vires after the order of protection

                      expired (15 days) by operation of law.




                                   - 28 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 28 of 30 PageID #: 28
                  b. Did the parties deal with the judge in his official capacity? No, the Judge had

                      no jurisdiction over the Plaintiff once the order of protection expired and as a

                      result all hearings conducted thereafter the Judge acted Ultra Vires stripping

                      him of immunity.

          105. Given the averments set forth herein it cannot be seriously argued that this Defendant

  is afforded any immunity as he acted in violation of multiple statutes and as such acted Ultra Vires.

          106. The illegal acts of this Defendant set forth herein has damaged the Plaintiff and he

  is therefore entitled to damages under 42 U.S.C.

          107. The illegal acts of this Defendant have caused and continue to cause Plaintiff mental

  and emotional anguish manifested by loss of financial well-being, sleepless nights, extreme stress

  due to fear the Defendant will put the Plaintiff back in jail and the inability to eat from the stress.

                                       PRAYER FOR RELIEF

           WHEREFORE, premises considered, Plaintiff would request this Court issue process

  requiring this Defendant to Answer this Complaint. Plaintiff would also request this Court

  empanel a jury of twelve to try this case and at the conclusion of the same, award Plaintiff damages

  in the amount of $10,000,000, a declaratory judgment finding all of the Defendant’s orders which

  were entered after the order of protection expired as set forth herein void as they violate not only

  Tennessee law but also the Tennessee Constitution and United States Constitution as the Defendant

  was acting Ultra Vires, for an award of attorney’s fees, for court costs and discretionary costs.


                                                      Respectfully submitted,
                                                      s/Darren V. Berg
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                                   - 29 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 29 of 30 PageID #: 29
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                                   - 30 -
Case 3:22-cv-00047-DCLC-DCP Document 1 Filed 02/04/22 Page 30 of 30 PageID #: 30
